Case 4:18-cv-06753-PJH   Document 448-2   Filed 12/10/24   Page 1 of 5




                 Exhibit 1
      Case 4:18-cv-06753-PJH        Document 448-2    Filed 12/10/24    Page 2 of 5




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16   XRP II, LLC, and Bradley Garlinghouse
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                               UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
19
     In re RIPPLE LABS INC. LITIGATION            Case No. 4:18-cv-06753-PJH
20
     ____________________________________         DEFENDANTS’ OFFER OF
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                                                  JUDGMENT
     This Document Relates to:
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23   ALL ACTIONS

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     DEFENDANTS’ OFFER OF JUDGMENT                               Case No. 4:18-cv-06753-PJH
      Case 4:18-cv-06753-PJH            Document 448-2         Filed 12/10/24       Page 3 of 5




 1          In light of the Court’s summary judgment order in the action captioned In re Ripple Labs,

 2 No. 4:18-cv-06753-PJH (“Action”), ECF No. 419, the only remaining claim in the Action is

 3 Plaintiff Bradley Sostack’s claim, brought in his individual capacity, under California Corporations

 4 Code § 25501 (the “Remaining Claim”). Pursuant to Federal Rule of Civil Procedure 68,

 5 Defendants Ripple Labs Inc. (“Ripple”), XRP II, LLC, and Bradley Garlinghouse (collectively

 6 “Defendants”) hereby offer to allow judgment to be taken against them in favor of Plaintiff

 7 Bradley Sostack on the Remaining Claim, on the terms set forth below. This Offer of Judgment

 8 shall not constitute or otherwise be construed in any respect as an admission of liability or of any

 9 point of fact or law alleged by Plaintiff.

10          1.      Plaintiff shall recover $500 from Defendants, as well as prejudgment interest and

11   reasonable attorneys’ fees and costs as determined by the Court.

12          2.      Any judgment entered pursuant to this offer shall fully and completely terminate

13   Plaintiff’s Remaining Claim in this Action with prejudice and shall have claim preclusive effects

14   as between Plaintiff and Defendants. Plaintiff expressly waives the right to appeal from any

15   judgment on his Remaining Claim.

16          3.      This Offer of Judgment is made with the intent of avoiding the cost of trial. If

17   Plaintiff accepts this Offer of Judgment, such acceptance shall not be construed to preclude

18   Plaintiff from continuing to represent the certified classes in this action. Plaintiff shall retain all

19   his existing rights and abilities to represent the certified classes. Further, neither this Offer of

20   Judgment nor any judgment entered pursuant to it shall constitute or otherwise be construed as a

21   finding or an admission by Defendants of any legal or factual allegations contained in any

22   complaint, motion, or other paper submitted or filed by Plaintiff, nor as an admission of the

23   insufficiency of any defense, affirmative or otherwise, Defendants have or could have asserted.

24          4.      If this Offer of Judgment is not accepted and Plaintiff obtains a judgment that is not

25   more favorable than this offer, Plaintiff must pay all of Defendants’ costs incurred after this Offer

26   of Judgment was made, as set forth in Rule 68(d).

27          5.      In the event this offer is not accepted and judgment is not entered pursuant to its

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     DEFENDANTS’ OFFER OF JUDGMENT                                          Case No. 4:18-cv-06753-PJH
       Case 4:18-cv-06753-PJH          Document 448-2        Filed 12/10/24       Page 4 of 5




 1   terms, Defendants retain, reserve, and preserve any and all rights, including to contest liability

 2   and damages in any further proceedings.

 3          6.     Pursuant to Federal Rule of Civil Procedure 68, this Offer of Judgment is made at

 4   least fourteen days before the date set for trial. This offer shall be deemed withdrawn unless

 5   written notice of acceptance is received within fourteen days of service.

 6
     Dated: October 1, 2024
 7                                                 /s/ Damien Marshall
 8

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     DEFENDANTS’ OFFER OF JUDGMENT                                        Case No. 4:18-cv-06753-PJH
      Case 4:18-cv-06753-PJH   Document 448-2    Filed 12/10/24    Page 5 of 5



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     DEFENDANTS’ OFFER OF JUDGMENT                          Case No. 4:18-cv-06753-PJH
